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 5
 6   Attorney for Defendants
     Sun Earth Solar Power Co., Ltd. and NBSolar USA Inc.
 7
 8                                UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
12   SUNEARTH, INC., THE SOLARAY                   Case No.: 11-cv-04991 CW
     CORPORATION,
13                                                 DEFENDANTS’ DIRECT
                Plaintiffs,
14                                                 EXAMINATION OF LIU ZHONG HAI
            vs.
15   SUN EARTH SOLAR POWER CO., LTD.,
16   NBSOLAR USA INC., ET AL.,

17                  Defendants.
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     DEFENDANTS’ DIRECT EXAMINATION
     OF LIU ZHONG HAI                                            Case No. 11-cv-04991-CW
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 1          Defendants, Sun Earth Solar Power Co., Ltd. (“SESP”) and NBSolar USA Inc., submitted
 2   in support of their Opposition (Dkt. No. 136) to Plaintiffs’ Motion in Limine (Dkt. No. 133) the
 3   Declaration of Liu Zhong Hai, an employee in SESP’s accounting department. Defendants
 4   attach Liu’s declaration to be used at trial as the direct examination of Liu.
 5
 6   Dated: October 8, 2012                         By:    /s/ James J. Foster
                                                           James J. Foster, Esq.
 7                                                         Attorney for Defendants
 8                                                         Sun Earth Solar Power Co., Ltd. and
                                                           NBSolar USA Inc.
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     DEFENDANTS’ DIRECT EXAMINATION                                                           1
     OF LIU ZHONG HAI                                                   Case No. 11-cv-04991-CW
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September 19, 2012




Certification

                                Park IP Translations


This is to certify that the attached translation is, to the best
of my knowledge and belief, a true and accurate translation from
Chinese into English of the document entitled: DECLARATION OF
LIU  ZHONG   HAI   IN  SUPPORT  OF  DEFENDANTS’   OPPOSITION  TO
PLAINTIFFS’ MOTION IN LIMINE.

The Case Number is 11-cv-04991 CW.

The Plaintiffs are SUNEARTH, INC., THE SOLARAY CORPORATION.

The Defendants are SUN EARTH SOLAR POWER CO., LTD., NBSOLAR USA
INC., DOES 1 – 10.




_______________________________________

Abraham I. Holczer

Project Manager




Park Case # 33188




                    134 W. 29th Street 5th Floor  New York, N.Y. 10001
                         Phone: 212-581-8870  Fax: 212-581-5577
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 1   I declare under penalty of perjury under the laws of the United States of America that:

 2          1.      I am employed by Sun Earth Solar Power Co., Ltd. (“SESP”). I work in the

 3   accounting department. I am planning to attend the trial in this action, where I will be prepared to

 4   testify to the matters set forth below.

 5                             Creation of Spreadsheet (NBSOLAR001279)

 6          2.      Several months ago, my department was asked to provide information sufficient to

 7   show our annual gross sales in the United States and our annual expenses that would be attributed

 8   to those gross sales. As we keep our financial information electronically, we do not keep paper

 9   documents that would set forth that information. Rather, to provide that information, we had to

10   query our financial database for the specific information that had been requested. We then

11   entered on a spreadsheet the electronically stored information that we received in response to the

12   query. A spreadsheet is a common way of formatting financial information for presentation. I

13   understand that the spreadsheet on which we entered that information was produced in this action

14   as NBSOLAR001279.

15                               Authentication of Underlying Documents

16          3.      I am a custodian of the attached accounting information provided by SESP, which

17   bears production numbers NBSOLAR001280-1318.

18          4.      The records produced with numbers NBSOLAR001280-99 are printouts that

19   accurately reflect electronically stored information maintained in SESP’s accounting system in

20   the ordinary course of business.

21          5.      Those printouts contain various dates, e.g., dates of monthly reports, dates on

22   which expenses were incurred, dates on invoices. The information in the printouts was entered

23   into SESP’s accounting system at or near the dates set forth in the printouts.

24          6.      The information in the printouts was entered by a person with knowledge, or from

25   information transmitted by a person with knowledge of the information.

26          7.      The information was kept in the course of the regular business activity of SESP

27   and it was the regular practice of SESP to enter and keep such information.

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     DECLARATION OF LIU ZHONG HAI IN SUPPORT OF DEFENDANTS’                                     1
     OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE                           Case No. 11-cv-04991 CW
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 1           8.     The documents produced as NBSOLAR001300-18 are copies of original

 2   documents held in SESP’s office. These documents were made at or near the time of the matters

 3   set forth in the documents by a person with knowledge, or from information transmitted by a

 4   person with knowledge, of the matters. The documents were kept in the course of the regular

 5   business activity of SESP and it was the regular practice of SESP to make and keep such

 6   documents.

 7                                Description of Underlying Documents

 8           9.     The document bearing production numbers NBSOLAR001280-81 provides the

 9   monthly quantity of photovoltaic panels that SESP produced (measured in Watts), the cost of

10   producing the panels (measured in renminbi), and the unit cost (cost / quantity) for each month in

11   2011.

12           10.    The document bearing production numbers NBSOLAR001282-93 itemizes

13   production costs for SESP’s photovoltaic panels (measured in renminbi) for each month in 2011.

14           11.    The document bearing production number NBSOLAR001294 provides the costs

15   incurred in connection with obtaining UL certification for Defendants’ photovoltaic panels

16   (measured in renminbi) sold in the United States in 2011.

17           12.    The document bearing production number NBSOLAR001295 provides the 2011

18   costs incurred in connection with having Defendants’ panels listed on the CEC (California Energy

19   Commission) list and any other tests which have a tight connection with applications in the

20   United States market, e.g., solar panels’ salt resistance performance test, mechanical loading

21   performance test, ammonia resistance test, etc.

22           13.    The document bearing production number NBSOLAR001296 provides

23   Defendants’ costs of airplane tickets and attending various business conferences and business

24   meetings in the United States in July 2011.

25           14.    The document bearing production number NBSOLAR001297 provides

26   Defendants’ costs of advertising and attending various trade shows in the United States in

27   September 2011.

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     DECLARATION OF LIU ZHONG HAI IN SUPPORT OF DEFENDANTS’                                    2
     OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE                          Case No. 11-cv-04991 CW
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 1          15.        The document bearing production numbers NBSOLAR001298-99 provides

 2   Defendants’ costs of compensation for people working in Defendants’ American market

 3   department in 2011.

 4          16.        The document bearing production number NBSOLAR001300 provides

 5   Defendants’ American business travel expenses (not including airplane tickets) for August 2011.

 6          17.        The documents bearing production numbers NBSOLAR001301 and

 7   NBSOLAR001302 provides Defendants’ American business travel expenses (not including

 8   airplane tickets) for October 2011.

 9          18.        The documents bearing production numbers NBSOLAR001303-16 provide the

10   shipping charges and the insurance for the shipments of Defendants’ products sold in the United

11   States in 2011.

12          19.        The document bearing production numbers NBSOLAR001317-18 provides the

13   costs related to interest payments on Defendants’ loans in 2011 multiplied by the fraction of

14   SESP’s total sales that are made in the United States.

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16   Dated: September 19, 2012                    By: [signature]______________________________
                                                      Liu Zhong Hai
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     DECLARATION OF LIU ZHONG HAI IN SUPPORT OF DEFENDANTS’                                    3
     OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE                          Case No. 11-cv-04991 CW
